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EXHIBIT 1
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U.S. General Services Administration
Household Goods Tender of Service (HTOS)
Effective November i, 2018

U.S. General Services Administration
Household Goods Tender of Service

(GSA HTOS)

Publish Date: August 23, 2018

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THIS EDITION CANCELS THE PREVIOUS EDITION

GSA

 
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4 Offers of Service

4.1 Overview

GSA will issue a Request for Offer (RFO) annually to all Transportation Service Providers (TSPs)
approved to participate in the Centralized Household Goods Traffic Management Program
(CHAMP). During the RFO process, TSPs may submit offers to provide the Household Goods
(HHG) transportation services covered by this Household Goods Tender of Service (HTOS). The
filing of rate offers is restricted to an approved TSP’s scope of operation. The scope of
operation is determined during the application process described in Section 2 of this HTOS
which also details the process for increasing or reducing the scope. Rate offers outside the
TSP’s approved scope of operation will be rejected during the RFO period.

4.2 Geographic Coverage

The geographic areas included in a TSP’s scope of operation are defined in the RFO.
Additionally:

® Rate offers for domestic service (with the exception of Alaska) shall be for all points
within the defined service areas for interstate and for the full state for intrastate offers.

e For intrastate shipments regulated by “State authority” within the meaning of 49 USC
14710(d), GSA’s domestic tariff applies to the extent that GSA’s rates are lower than the
rates under the regulated state’s tariff. In the event that GSA’s rates are higher than the
rates under the regulated state’s tariff, the state’s tariff will govern and a copy of the
pricing pages from the regulated state’s tariff shall be submitted to the agency's
prepayment auditing division.

e Rate offers for service within Alaska or between Alaska and all other points defined as
domestic will include only those points identified in the RFO.

e Rate offers for all international service may be between international areas or between
international and domestic areas. In either case, offers for international service shall be
for all points within the defined service areas and/or countries.

4.3. Annual RFO Process

The RFO provides instructions and timing for the filing and acceptance of offers and will be
issued by the Program Management Office on an annual basis, unless changes in the program
or other factors require the issuance of different instructions. Except as provided below, all
terms, conditions, and instructions are contained in the RFO. In general, the RFO:

e Provides special instructions that amplify the information in the HTOS

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e Solicits rates for domestic and international HHG services

e Provides details on the computation of the GSA Industrial Funding Fee (IFF)

e Provides special agency provisions that apply to the HHG shipments of a specific agency
e Provides criteria for the evaluation and acceptance of rate filings

e Provides technical details on the rate filing process.

4.4 One-Time-Only (OTO) Shipments

An OTO shipment is a particular shipment, route, or requirement with unique specifications
that requires solicitation by an agency of a special type of rate offer from current CHAMP TSPs.
This provision applies to both domestic and international services under this HTOS. An OTO
shipment shall include the mandatory terms and conditions in writing that govern the use of
GBLs and BLs (41 CFR 102-118.140) and must also state that the provisions of CHAMP and any
agency-specific terms, conditions and/or specialized requirements apply. For OTO rates used in
conjunction with CHAMP shipments, specifically Items 1, 2 and 3 below, OTO rates shall be all
inclusive and include all charges for the transportation, accessorial (to include fuel), GSA’s IFF
and full replacement valuation, plus other services needed to support the unique nature of the
OTO shipment. When an agency solicits OTO rates, it should solicit a minimum of 3 or more rate
offers to make a best value determination, however, the agency may consider the rate offers if
less than 3 are received. An agency may consider such factors as pricing, timeliness of
pickup/delivery and/or the TSP’s CSI score to determine best value.

OTO rates under CHAMP can be used for:

1. Asingle shipment with a unique delivery timeline, shipment characteristic, or
origin/destination combination (all-inclusive pricing)

2. Agroup of shipments with the same or similar requirements (all-inclusive pricing)

Any and all modes of shipment (HHG, containerized, UAB, POV, etc.) when there are no
rates or very limited rates (fewer than three) on file (all-inclusive pricing)

4. Ashipment outside of a CHAMP TSP’s authorized scope of operation if the agency and
TSP have a Memorandum of Agreement (MOA) for Move Management Services (MMS)
and there is no pricing structure identified in the MOA for OTO shipments. If an agency
and MMS Provider have instituted an MOA for transportation services and a pricing
structure for OTO shipments is identified within the language of the MOA, the MMS
Provider may use the agreed upon pricing.

5. Ashipment outside of a CHAMP TSP’s authorized scope of operation when a TSP has
obtained approval from the ordering agency in advance. The TSP must include the
agency approval as documentation supporting the invoice.

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by the owner. This does not include arranging articles in a manner desired by the
owner
® Re-hanging of all clothes from wardrobes.

5.2.8.3 Recording Loss and Damage

The TSP shall record loss and damage revealed while unloading and unpacking. When
unloading and/or unpacking articles at the destination residence, the TSP shall, in
coordination with the owner or the owner’s authorized agent, inspect each article for
damage and check the inventory against possible loss of or damage to articles. A record will
be made of any difference in count and condition from that shown on the inventory prepared
at origin, and such record will be jointly signed by the TSP’s representative and the owner or
the owner’s authorized agent. Such record or count and condition will be indicated on the
Notification of Loss or Damage at Delivery or Notification of Loss or Damage AFTER Delivery
documents, as applicable.

5.2.8.4 Removal of Debris

Packing and loading at origin and unloading and unpacking at destination includes removing
from the owner 's residence, including driveway and curbside, all empty TSP-provided
containers, packing materials, cartons and other debris such as nails accumulated incident to
packing and loading. Additionally, any debris which may have accumulated on the street or
adjacent property or in parking spaces will be removed.

Debris removal charges will apply when the BLIO requests in writing that the TSP perform
debris removal of cartons unpacked by the owner subsequent to the date of delivery and the
service is performed. Removal of debris charges WILL NOT APPLY for the cartons unpacked by
the TSP at the time of delivery. Debris removal service performed after delivery must be
performed within thirty (30) calendar days of delivery date.

5.3 Provisions Applicable to International Shipments Only

The following provisions are applicable only to international shipments. These supplement
the general provisions above.

5.3.1 Use of US and Foreign Flag Vessels

The TSP shall use vessels of United States registry for the ocean portion of overseas shipments
and book shipments for container or below deck stowage. However, when it is determined that
the use of a vessel of United States registry will not provide the required service, the TSP shall
request permission to use a Foreign Flag vessel prior to start of shipment.

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Requests for permission to use a Foreign Flag vessel shall be made to the BLIO on the form
“Request for Approval of Use of a Foreign Flag Vessel” (see Appendix C). Approval will be
granted only when the TSP certifies in writing that US flag shipping is not available or the use of
foreign flag shipping is necessary to meet delivery requirements.

5.3.2 Overflow and Split Shipments

5.3.2.1 Ocean Shipments

Shipments may be split between ocean containers but not between ocean voyages. The TSP
shall book all items of a single shipment together on the same vessel and the same voyage or
departure. In the event that a portion of any shipment should be shut out by the ocean carrier,
the TSP shall notify the BLIO.

5.3.2.2 Non-Ocean Shipments

if it is necessary to split a shipment for the non-ocean linehaul movement, the established
Required Delivery Date (RDD) is applicable to all parts of the shipment.

5.3.2.3 Use of Agents in Unnamed Localities

An agent furnishing services in a locality not named in the RFO or HTOS may provide agent
services to a requesting TSP provided, however, that the TSP has obtained prior approval in
writing from the BLIO to use that agent prior to commencement of performance.

5.3.3 Containers

All HHG containers, i.e., liftvans, used by the TSP shall be constructed to the specifications of
the containers tested in accordance with ASTM D4169, "Standard Practice for Performance
Testing of Shipping Containers and Systems.”

The primary liftvan for surface shipments under this HTOS is the 206 cubic foot (exterior) box
which conforms to the approved material and structure requirements for Surface Deployment
and Distribution Command (SDDC) container number 186-A (as modified by SDDC Approval
Code 186-1) and SDDC container number 152-A-1 (Mod) as specified in SDDC Pamphlet 55-12.

All containers are to be new, clean and swept. Liftvans will be free from holes or other
conditions such as dry rot which could permit the entry of water. Sides and doors, when
closed, must fit tightly and securely. Liftvans are to be constructed so as to require a
sealant/caulking material to be applied to the joints and door(s) to ensure water tightness.
Before each shipment, they will be appropriately caulked, sealed and banded with a material
that, when subjected to varying climatic temperatures will not stain or otherwise damage the
contents of the shipment. The interior of all containers shall be lined with either a kraft-

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6.5 Required Services

The MMS provider shall arrange, coordinate and monitor each owner’s HHG move from initial
notification of the move by the BLIO through completion of all move-related transactions
required under Sections 6.5.1 through 6.5.7. The MMS provider shall comply with the terms of
the MOA when performing these services.

A HHG move within the Continental United States (CONUS) and Canada is defined as a basic
move consisting of one shipment of HHG and, when specifically authorized by the agency,
shipment of one or more Privately Owned Vehicles (POVs) and Unaccompanied Air Baggage
(UAB) shipments (as defined in the RFO). A HHG move to or from an international location is
defined as a basic move consisting of one surface shipment of HHG and when specifically
authorized by the agency, UAB shipments and shipment of one or more POVs. Multiple origins
and/or destinations may be involved for both CONUS and international shipments. A move
consisting of any shipment for other than household goods (49 USC 13102(10)(A)-(B)) is not
covered under the terms of this HTOS.

6.5.1 Customer Service

The MMS provider shall:

e Provide a 24-hour, toll-free telephone number to assist in tracking/tracing shipments;

e Resolve problems that occur during the move;

® Provide an approved quality control program addressing all problems which might occur;
and

* Assist in filing post-delivery claims for agencies that choose that optional service.

6.5.2 TSP Selection

An agency may select the TSP to transport the owner's HHG or may delegate this responsibility
to the MMS provider. If the agency delegates TSP selection to the MMS provider, the agency
will furnish the MMS provider criteria to use in selecting the TSP. The selected TSP must be
currently approved to participate in CHAMP and shall have approved rates on file with GSA.
The MMS provider shall be capable of accessing the GSA Transportation Management Services
Solution (TMSS) system to obtain performance/best value information for use in making the
TSP selection when delegated this responsibility by the agency and document the reason why
the selected TSP was chosen by the MMS provider. Selection criteria shall be submitted to the
agency at their discretion.

6.5.3 Shipment Booking

The MMS provider shall perform the following when booking a shipment:

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8 Invoicing and Payments

This section describes the process for invoicing Household Goods (HHG) services (including the
movement of Unaccompanied Air Baggage (UAB) and Privately Owned Vehicles (POVs) and how to
remit payment for the GSA Industrial Funding Fee (IFF). Each portion of a shipment shall be rated at
the rate in effect on the date of initial pick-up of the shipment, based on the applicable weight of
the entire shipment. Transportation Service Providers (TSPs) shall refer to the annual RFO for
complete details on rates and charges.

8.1 Invoicing

8.1.1 Voucher and Supporting Documents

GSA has prescribed the Public Voucher for Transportation Charges, SF 1113, and Memorandum
Copy, SF 1113-A, for use by TSPs in billing charges for authorized HHG services furnished to the
Federal Government. These forms are available from the GSA Forms Library and URLs are provided
in Appendix C.

The SF 1113 and one SF 1113-A shall be submitted to the billing office specified on the BL and are
expected to be submitted within sixty (60) calendar days after delivery/service is completed. The
SF 1113 shall be supported by the BL and other documents required in the table below.

 

Invoice and Supporting Documents

 

Public Voucher for The TSP shall include the following items on the SF 1113:
Transportation Charges (SF e The required transit time for the shipment, as set forth in this HTOS, or
1113/SF 1113A) the RFO, as applicable

e The actual transit time for the shipment

e  TSP’s Taxpayer ID Number

e The Late Delivery Reduction assessed as a deduction from total charges
in accordance with Section 8.4.1

 

Bill of Lading (BL) The original BL is the primary shipping document the TSP uses to bill the
Federal Government for transportation services rendered. However, if after
delivery, the original BL cannot be located by the billing TSP, and it is evident
that the original BL has been lost or destroyed, the TSP must use the Freight
Waybill-Original properly certified by the TSP as a substitute document, when
submitting public vouchers to the appropriate Federal Government paying
office.

If both the original BL and the freight waybill are lost, the TSP shall request, and
be provided, a certified true copy of the issuing office's Memorandum Copy for
use as a substitute billing document

 

 

 

 

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8.1.2 Electronic Payments

The agencies ordering HHG services will establish their own procedures for the submission of TSP
invoices. This may include requiring the use of electronic commerce systems that include fees paid
by the TSP. The TSP shall be responsible for complying with the agencies’ payment procedures.

8.2 Composition of Charges

8.2.1 Applicable Rate

All charges for transportation and related services for shipments handled shall be in accordance
with the lowest applicable GSA tariff or tender, and shall be billed to the agency shown in the “Bill
Charges to” block on the BL. The TSP's public voucher for charges shall be supported by the
documents specified in Section 8.1. Failure to submit any of the documents shall result in rejection
of the associated charges.

8.2.2 Applicable Rate in Absence of Accepted Rate

At the time of approval, GSA establishes a TSP’s approved scope of operation. Agencies are
encouraged to use those TSPs that have approved rates filed in conjunction with the TSP’s
approved scope of operation. If the selection of TSPs for a specific route is limited, the acceptance
and movement of a shipment by the TSP outside of its approved scope of operation over routes for
which the TSP has no accepted rates or whose rates have been canceled shall constitute an
agreement by that TSP to perform the transportation services at a One-Time-Only (OTO) rate. See
Section 4.4 for OTO requirements.

8.2.3 Applicable Charges on Overweight International Shipments

BLIOs may require TSPs to report the actual weight of international shipments prior to movement
(See Section 11.2). This is to determine if the actual weight is in excess of the owner’s authorized
allowance. If this should occur, and the TSP fails to notify the BLIO of the shipment weight and
moves the shipment from origin to destination, TSP shall collect from the Federal Government
those transportation and accessorial service charges, including terminal services charges, in an
amount equal to the charges accruing to the authorized shipment weight, not the actual shipment
weight. The TSP shall have no recourse to the owner for the additional charges.

8.2.4 Applicable Weight When Reweigh Performed

When a shipment is reweighed in accordance with Section 5.4.4, charges will be based on the lower
of the two net scale weights. In the event the reweigh information is not available at the time of
the TSP's initial submission of its invoice, the TSP may either present a supplemental billing
adjusting the transportation charges or adjust supplemental billings to reflect the reweigh weight.

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